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                   8
                   9                         UNITED STATES DISTRICT COURT
              10                           CENTRAL DISTRICT OF CALIFORNIA
              11                                     WESTERN DIVISION
              12
              13
                       JOHN MICHAEL “OZZY”                         CASE NO. 2:18-cv-02310 DSJ (JEMx)
                       OSBOURNE, an individual, on his
              14       own behalf and for all others similarly     The Honorable Dale S. Fischer
              15       situated,
                                                                   FIRST AMENDED
              16                       Plaintiff,                  CLASS ACTION COMPLAINT
              17                                                   TO ENJOIN VIOLATIONS
                             v.
                                                                   OF THE SHERMAN ACT
              18       ANSCHUTZ ENTERTAINMENT                      AND FOR DECLARATORY RELIEF
              19       GROUP, INC., a Colorado corporation,        (15 U.S.C. § 1 AND 28 U.S.C. § 2201)
                       AEG PRESENTS LLC, a Delaware
              20       limited liability company, L.A.
              21       ARENA COMPANY, LLC, a
                       Delaware limited liability company,
              22       ANSCO ARENA LTD., a U.K. limited
              23       company, and JOHN DOE 1
                       THROUGH 10, whose true names are
              24
                       unknown, inclusive,
              25
                                       Defendants.
              26
              27
              28
                                                                        FIRST AMENDED CLASS ACTION COMPLAINT
ATTORNEYS AT LAW
 SAN FRANCISCO
                                                                                        FOR INJUNCTIVE RELIEF
                                                                                     AND DECLARATORY RELIEF
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                   1          1.      John Michael “Ozzy” Osbourne (“Ozzy”), on his own behalf and for
                   2 all others similarly situated, alleges:
                   3                                    INTRODUCTION
                   4          2.      This case is brought under the antitrust laws of the United States to
                   5 enjoin        blatant, anticompetitive conduct—specifically, tying—by Anschutz
                   6 Entertainment Group, Inc. (“AEG”) and certain subsidiary and affiliated entities.
                   7 The tying arrangement at issue is so explicit and brazen that AEG has given it a
                   8 name:         the “Staples Center Commitment.”          Through the Staples Center
                   9 Commitment, AEG requires that artists and musicians cannot play London’s most
              10 essential large concert venue—the O2 Arena (“O2”)—unless they agree to play the
              11 Staples Center (“Staples”) during the part of their tours that takes place in
              12 Los Angeles. Both the O2 and Staples are owned by AEG.
              13              3.      The O2 is a singular concert venue—the only indoor arena in London
              14 with the capacity to host major concerts. The O2 is a “must-have” venue for the top
              15 international touring artists, as witnessed by the steady stream of marquee artists
              16 who play the O2 annually. According to concert industry data analyzed by Pollstar,
              17 50 percent more tickets were sold for shows at the O2 than for any other arena-sized
              18 venue in the world (in 2016).             AEG is a clear monopolist in the market for
              19 arena-sized indoor venues in greater London—indeed, through management
              20 contracts it also controls a number of other large concert venues in greater London
              21 in addition to the O2.
              22              4.      Unlike London, however, Los Angeles is a competitive venue market—
              23 or has been since at least January 2014, when the “Forum” reopened in Inglewood
              24 after a $100 million renovation. Artists touring in Los Angeles have therefore been
              25 able to enjoy the benefits of competition between Staples and the Forum. Ozzy
              26 would have been such an artist if AEG had not insisted, through the Staples Center
              27 Commitment, that he perform at Staples—the venue that AEG owns.
              28
                                                                       FIRST AMENDED CLASS ACTION COMPLAINT
ATTORNEYS AT LAW
 SAN FRANCISCO                                                    2                    FOR INJUNCTIVE RELIEF
                                                                                    AND DECLARATORY RELIEF
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                   1        5.    In early 2018, Ozzy’s UK promoter, Live Nation (Music) UK Ltd.
                   2 (“Live Nation UK”), sought to book the O2 for Ozzy’s final world tour, known as
                   3 “No More Tours 2.” Live Nation UK requested a date in February 2019, which AEG
                   4 said was available—but only on the condition that Ozzy be bound by the Staples
                   5 Center Commitment.       Sharon Osbourne, Ozzy’s wife and business manager,
                   6 publicly complained about having to sign the Staples Center Commitment, but AEG
                   7 would not relent.
                   8        6.    In view of the blatant anticompetitive effects of AEG’s demands, as
                   9 detailed below, Ozzy commences this action (on his own behalf and for all similarly
              10 situated artists) to prohibit AEG from enforcing the Staples Center Commitment, an
              11 unlawful tying arrangement that unfairly leverages AEG’s dominance in greater
              12 London to distort and deter competition in greater Los Angeles. The harm to
              13 competition from the Staples Center Commitment is profound, immediate, and
              14 irreparable—and must be enjoined.
              15                                       THE PARTIES
              16                                  Representative Plaintiff
              17            7.    Plaintiff John Michael “Ozzy” Osbourne is an individual and a resident
              18 of the State of California. Ozzy is famous worldwide both as a star and artist in his
              19 own right, and as the lead vocalist of the pioneering heavy metal band Black
              20 Sabbath. Ozzy has sold over 100 million albums and is one of the most recognizable
              21 musicians in the world.
              22            8.    “Plaintiffs,” as used in this Complaint, refers to Ozzy and to the other
              23 plaintiff class members collectively.
              24                                         Defendants
              25            9.    Defendant AEG is a private corporation organized under the laws of the
              26 State of Colorado, and a wholly owned subsidiary of The Anschutz Corporation.
              27 AEG is a live entertainment company, venue operator, concert promoter, and sports
              28 property owner headquartered in Los Angeles.
                                                                    FIRST AMENDED CLASS ACTION COMPLAINT
ATTORNEYS AT LAW
 SAN FRANCISCO                                                 3                    FOR INJUNCTIVE RELIEF
                                                                                 AND DECLARATORY RELIEF
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                   1        10.   Defendant AEG Presents LLC (“AEG Presents,” formerly known as
                   2 AEG Live LLC and AEG Concerts LLC) is a limited liability company organized
                   3 under the laws of the State of Delaware. On information and belief, AEG Presents
                   4 is a wholly owned division, subsidiary, or other affiliate of AEG. Headquartered in
                   5 Los Angeles, AEG Presents is the second-largest concert promoter in the world.
                   6        11.   Defendant L.A. Arena Company, LLC (“L.A. Arena Company”) is a
                   7 limited liability company organized under the laws of the State of Delaware and
                   8 headquartered in Los Angeles. On information and belief, L.A. Arena Company is
                   9 a wholly owned division, subsidiary, or other affiliate of AEG.           L.A. Arena
              10 Company is engaged in the business of managing concert and other live
              11 entertainment venues.
              12            12.   Defendant Ansco Arena Ltd. (“Ansco”) is a United Kingdom company
              13 headquartered in London. On information and belief, Ansco is a wholly owned
              14 division, subsidiary, or other affiliate of AEG. Ansco is engaged in the business of
              15 managing concert and other live entertainment venues and is the entity that manages
              16 the O2.
              17            13.   This Complaint refers collectively to AEG, AEG Presents, L.A. Arena
              18 Company, and Ansco as the “AEG Defendants.”
              19            14.   Defendants John Doe 1 through 10 are individuals whose names and
              20 addresses of residence are currently unknown, and who are therefore sued here under
              21 fictitious names pursuant to Local Rule 19-1. Plaintiff will seek leave to amend this
              22 Complaint after the Doe Defendants’ true names have been ascertained.
              23                                  Class Action Allegations
              24            15.   Pursuant to Local Rule 23-2, Plaintiff sets forth his Class Action
              25 Allegations as follows.
              26            16.   Plaintiff brings this action on his own behalf and as a class action under
              27 Rules 23(a) and (b)(2) of the Federal Rules of Civil Procedure, for the following
              28 class:
                                                                     FIRST AMENDED CLASS ACTION COMPLAINT
ATTORNEYS AT LAW
 SAN FRANCISCO                                                  4                    FOR INJUNCTIVE RELIEF
                                                                                  AND DECLARATORY RELIEF
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                   1                All artists required to agree (themselves or through
                   2                representatives) to the Staples Center Commitment as a
                                    condition of performing at the O2.
                   3
                             17.    The class is so numerous that joinder of all members is impracticable.
                   4
                       Plaintiff estimates that the O2 hosts over 120 concerts per year, in addition to other
                   5
                       events. Plaintiff is also informed and believes that most artists who hold concerts at
                   6
                       the O2 do so in connection with an international tour that includes performances in
                   7
                       Los Angeles, and that the AEG Defendants require all of those artists (themselves
                   8
                       or through representatives) to agree to the Staples Center Commitment (as described
                   9
                       herein, encompassing a general obligation to play Staples when in LA, often
              10
                       reflected in a form letter agreement imposed by the AEG Defendants). As a result,
              11
                       one can presume that many dozens of artists have been required to agree (themselves
              12
                       or through representatives) to the Staples Center Commitment.
              13
                             18.    The class includes both (a) artists who have in the past been required to
              14
                       agree (themselves or through representatives) to the Staples Center Commitment,
              15
                       but who have not yet performed the Los Angeles leg of their tour, and (b) artists who
              16
                       are in the future required to agree (themselves or through representatives) to the
              17
                       Staples Center Commitment.
              18
                             19.    There are questions of law that are common to the class—in particular,
              19
                       the questions underlying whether the Staples Center Commitment is lawful, such as
              20
                       whether it must be evaluated under the “rule of reason” or as a per se antitrust
              21
                       violation. There are also questions of fact and mixed questions of law and fact that
              22
                       are common to the class, including:
              23
              24                       a. the definition of the relevant markets;
              25                       b. AEG’s market or monopoly power in London or greater
                                          London;
              26
                                       c. the existence of a tying arrangement;
              27
                                       d. the effects of the tying arrangement; and
              28
                                                                       FIRST AMENDED CLASS ACTION COMPLAINT
ATTORNEYS AT LAW
 SAN FRANCISCO                                                    5                    FOR INJUNCTIVE RELIEF
                                                                                    AND DECLARATORY RELIEF
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                   1                   e. In the event that “rule of reason” analysis applies, the
                   2                      business justifications, if any, for the tying arrangement,
                                          and any less restrictive alternatives for meeting legitimate
                   3                      business justifications.
                   4
                   5         20.   The claims or defenses of the representative Plaintiff (Ozzy) are typical
                   6 of the claims or defenses of the class. The version of the Staples Center Commitment
                   7 presented to Ozzy (through his promoter) is substantively identical to the version
                   8 presented to all other class members (through their representatives). The common
                   9 contention of all Plaintiffs, including absent class members, is that the Staples Center
              10 Commitment is an unlawful tying arrangement; there is no way for that tying
              11 arrangement to be lawful to some members of the class, but not others.
              12             21.   All class members are threatened with the same injuries as a result of
              13 Defendants’ conduct, even if their monetary damages—not sought in this action—
              14 may differ marginally. Each (a) loses the benefits of free and open competition
              15 between Staples and other competing venues such as the Forum; (b) loses any
              16 additional monetary compensation that would flow to them (through the percentage
              17 of the profits they are entitled to under promoter agreements and other financial
              18 incentives from venues) in a market with unrestrained competition; and (c) loses the
              19 ability to choose the venues they prefer for artistic or other intangible reasons, even
              20 if the monetary loss is tolerable.
              21             22.   The representative Plaintiff (Ozzy) will adequately and fairly protect
              22 the interests of the class. Ozzy has retained competent counsel who are experienced
              23 in complex antitrust class action litigation, and Ozzy and his counsel intend to
              24 prosecute this action vigorously to vindicate the rights of the entire class. Neither
              25 Ozzy nor his counsel have interests that conflict with the interests of the absent class
              26 members.
              27             23.   A class action under Rule 23(b)(2) is appropriate because in enacting
              28 and enforcing the Staples Center Commitment, AEG has acted on grounds that apply
                                                                       FIRST AMENDED CLASS ACTION COMPLAINT
ATTORNEYS AT LAW
 SAN FRANCISCO                                                    6                    FOR INJUNCTIVE RELIEF
                                                                                    AND DECLARATORY RELIEF
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                   1 generally to the class, so that final injunctive relief or corresponding declaratory
                   2 relief is appropriate respecting the class as a whole.
                   3         24.   Notice to absent class members is not necessarily required in a class
                   4 action, such as this one, proceeding under Rule 23(b)(2). However, if the Court
                   5 determines that notice should be given, Plaintiff contemplates that absent class
                   6 members will receive notice and/or be served in a manner deemed appropriate by
                   7 the Court (see Fed. R. Civ. P. 23(c)(2)(A)) following the completion of discovery
                   8 sufficient to identify and locate the absent class members.
                   9                            JURISDICTION AND VENUE
              10             25.   This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331
              11 because this action arises under the laws of the United States—specifically, under
              12 Section 1 of the Sherman Act, 15 U.S.C. § 1.
              13             26.   This Court has personal jurisdiction over all Defendants because the
              14 AEG Defendants have purposefully directed their conduct with respect to the Staples
              15 Center Commitment at this forum, Plaintiffs’ claims all arise out of that conduct, and
              16 the exercise of jurisdiction over the AEG Defendants is reasonable. For example,
              17 the Staples Center Commitment letter issued by UK-based Defendant Ansco
              18 expressly requires artists to play Staples in Los Angeles, and is to be countersigned
              19 both by Ansco and by Defendant L.A. Arena Company LLC. In addition, all of the
              20 AEG Defendants except Ansco are headquartered in Los Angeles, and thus have
              21 continuous and systematic contacts with this forum that are sufficient to establish
              22 this Court’s general personal jurisdiction.
              23             27.   Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2)
              24 because a substantial part of the events giving rise to this Complaint occurred within
              25 this District. In addition, a substantial part of property that is subject to this action
              26 (i.e., Staples) is situated in this District. Id. Venue is also proper in this District
              27 pursuant to 28 U.S.C. § 1391(b)(1) and 1391(c)(2) because all of the AEG
              28 Defendants except Ansco are headquartered in Los Angeles.
                                                                      FIRST AMENDED CLASS ACTION COMPLAINT
ATTORNEYS AT LAW
 SAN FRANCISCO                                                   7                    FOR INJUNCTIVE RELIEF
                                                                                   AND DECLARATORY RELIEF
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                   1            FACTUAL BACKGROUND COMMON TO ALL CLAIMS
                   2         28.    Artists generally book tours through representatives. When a performer
                   3 sets out to schedule a world tour of multiple venues, he or she generally is not the
                   4 person who picks up the phone and calls the relevant representative of, say, the O2
                   5 arena, or the Forum, or any other concert hall. Instead, the artist’s management
                   6 team, promoter, booking agent, or other representative typically carries out the
                   7 logistics of that task, and negotiates the ensuing details on the artist’s behalf.
                   8         29.    Irrespective of which particular actor signs the various contracts that
                   9 establish the terms of trade with venues on a given tour, however, the artist virtually
              10 always benefits from more favorable contracts, and virtually always does less well,
              11 personally, from less favorable contracts. The artist’s own arrangements with his or
              12 her promoter, manager, and other representatives effectively expose the artist to the
              13 upside and downside of deals that those representatives enter to engage the artist to
              14 perform. So if the artist’s promoter signs a more favorable deal with a venue for the
              15 artist to perform there, the artist does relatively better; and vice versa. And of course,
              16 the artist is the party who actually discharges the critical obligation in any agreement
              17 between a venue and a promoter or manager, by carrying out the required
              18 performance or performances.
              19             30.    In January 2018, Ozzy, through his UK promoter Live Nation UK,
              20 informed representatives of AEG that he wished to reserve performance dates at the
              21 O2 arena in London for an upcoming international tour. In industry jargon, Live
              22 Nation UK asked to “pencil in” February 11, 2019. “Penciling in” that date would
              23 reserve it for Ozzy’s performance, pending the completion of a formal venue-hire
              24 agreement. The February 11, 2019 date that Ozzy requested was available.
              25             31.    However, per its now standard practice, AEG (through Ansco) then
              26 transmitted a letter agreement to Ozzy’s promoters imposing the mandatory Staples
              27 Center Commitment (attached to this Complaint as Exhibit 1). The subject line of
              28
                                                                        FIRST AMENDED CLASS ACTION COMPLAINT
ATTORNEYS AT LAW
 SAN FRANCISCO                                                    8                     FOR INJUNCTIVE RELIEF
                                                                                     AND DECLARATORY RELIEF
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                   1 that letter, dated January 11, 2018, reads: “Staples Center Commitment – Ozzy
                   2 Osbourne at The O2 arena.” That body of the letter stated, among other things:
                   3              Staples Center Commitment
                   4              As we have previously communicated, and to give effect to our
                   5              new booking policy, as a condition of entering the pencils for
                                  the O2 Shows, we require both Live Nation Entertainment, Inc.
                   6              Live Nation (Music) UK Limited (collectively “you” or “Live
                   7              Nation”) to execute this letter agreement for the purpose of
                                  setting forth your irrevocable and binding commitment that, if
                   8              (i) any of the aforementioned The O2 Shows are booked at The
                   9              O2 arena and (ii) Ozzy Osbourne also plays an indoor arena
                                  anywhere within twenty five (25) miles of the City of Los
              10                  Angeles as part of the same tour cycle as the aforementioned The
              11                  O2 Shows and that show/those shows is/are promoted by a Live
                                  Nation Entertainment, Inc. group company, then you shall
              12                  ensure at least one of those Ozzy Osbourne shows in Los
              13                  Angeles shall be held at the Staples Center (the “Staples Center
                                  Commitment”).
              14
                                  The foregoing Staples Center Commitment shall not apply to the
              15                  extent [Ansco] or [L.A. Arena Company] advise you that the
                                  Staples Center is not available on the particular date(s) in
              16
                                  question due to another event, although, in such instance, you
              17                  agree to use your best efforts in keeping with customary industry
                                  practice to work with us to find mutually acceptable dates.
              18
              19 See Exh. 1 at p. 1 (emphasis added).
              20            32.   The letter agreement also contained a clause requiring the resolution of
              21 disputes in “any state or federal court located in Los Angeles, California.”
              22            33.    On information and belief, the letter agreement was a barely modified
              23 version of a form letter that AEG routinely sends to promoters, booking agents, and
              24 other artist representatives, imposing the same Staples Center Commitment as a
              25 condition of booking the O2.
              26            34.    The terms laid out in the letter agreement clearly and unambiguously
              27 impose an obligation to play at least one show at Staples as a condition of playing
              28 the O2. In practice, that requirement to play one show in Los Angeles will normally
                                                                    FIRST AMENDED CLASS ACTION COMPLAINT
ATTORNEYS AT LAW
 SAN FRANCISCO                                                 9                    FOR INJUNCTIVE RELIEF
                                                                                 AND DECLARATORY RELIEF
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                   1 be a de facto requirement to play all Los Angeles dates at Staples. That is certainly
                   2 the case for Ozzy—and, on information and belief, it is the case for most or all other
                   3 artists as well. The logistics, cost and hassle of switching venues, the need to avoid
                   4 customer confusion, and numerous other relevant considerations all dictate that, in
                   5 practice, artists will not go to the trouble of setting up their stage and playing shows
                   6 at two different venues in Los Angeles except in the rarest circumstances. So the
                   7 real-world effect of the “one show” requirement is, in substance, an “all shows”
                   8 requirement.
                   9         35.    On February 7, 2018, Sharon Osbourne responded by email to Jay
              10 Marciano, the Chief Operating Officer of AEG, and the Chairman and CEO of AEG
              11 Presents. Mrs. Osbourne wrote:
              12                    Mr. Marciano,
              13                    I am returning the enclosed Staples Center Commitment
                                    Agreement to you, unsigned.
              14
                                    Shame on AEG for bringing artists into a power struggle that
              15                    you’re having with your competitor, Live Nation. I can assure
              16                    you that Live Nation would never strong-arm an artist into
                                    playing a venue they’re not comfortable performing in.
              17
                                    In closing, without the artists there would be no AEG, no Live
              18                    Nation, no promoters, agents or managers. The artists should
              19                    always come first. Never forget that! There’s enough for
                                    everyone without you trying to monopolize the world of
              20                    entertainment.
              21             36.    Mr. Marciano responded on the same day, as follows:
              22                    Dear Sharon,
              23                    Thank you for your note.
              24                    Please understand this dispute is between The Forum and Staples
                                    Center and we couldn’t agree with you more — it should always
              25                    be the artist’s choice. We long for the days when artists and fans
              26                    came first.
              27                    Kindest regards -

              28                    Jay

                                                                       FIRST AMENDED CLASS ACTION COMPLAINT
ATTORNEYS AT LAW
 SAN FRANCISCO                                                   10                    FOR INJUNCTIVE RELIEF
                                                                                    AND DECLARATORY RELIEF
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                   1               PS - The other guys started this first!
                   2        37.    Mr. Marciano’s references to the Forum and his statement “The other
                   3 guys started this first!” are part of an argument AEG has resorted to, in the context
                   4 of this ongoing dispute, that the Staples Center Commitment is a legitimate response
                   5 to a similar practice by the Madison Square Garden Company (“MSG”), which owns
                   6 the Forum. On information and belief, the premise of AEG’s argument is incorrect:
                   7 artists who wish to book Madison Square Garden in New York City are not required
                   8 to commit—in a formal written contract, no less—that they will play the Forum if
                   9 they tour Los Angeles. Indeed, in response to the exchange of emails between
              10 Sharon Osbourne and Jay Marciano, Irving Azoff, the Chairman and Chief
              11 Executive Officer of Azoff MSG Entertainment LLC, was quoted in Amplify as
              12 saying that Mr. Marciano’s statements were “a pack of lies,” and, “We do not block
              13 book Madison Square Garden and The Forum.”
              14            38.    In any event, MSG’s practices, whatever they may be, cannot justify
              15 the Staples Center Commitment. As a threshold matter, even if it were true that
              16 MSG were committing some form of wrong here (legal or otherwise)—which it is
              17 not—that would not absolve the AEG Defendants of liability for the glaring antitrust
              18 violations challenged in this Complaint.
              19            39.    But regardless, the circumstances surrounding MSG’s conduct are
              20 critically different. Madison Square Garden, as important a concert venue as it is,
              21 faces strong competition in New York from (at least) the brand-new Barclays Center
              22 in Brooklyn and the Prudential Center in Newark, New Jersey. The O2 faces no
              23 such competition. An artist wishing to play a large indoor arena in London cannot
              24 avoid the Staples Center Commitment by playing a venue other than the O2
              25 (i.e., playing the London equivalent of a Barclays or Prudential Center), since no
              26 such option exists.
              27            40.    As events transpired here, the AEG Defendants did not relent in
              28 response to Sharon Osbourne’s objections, and continued to insist that Ozzy would
                                                                       FIRST AMENDED CLASS ACTION COMPLAINT
ATTORNEYS AT LAW
 SAN FRANCISCO                                                   11                    FOR INJUNCTIVE RELIEF
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                   1 not be allowed to perform at London’s O2 arena unless he also agreed to perform at
                   2 Staples in Los Angeles.
                   3        41.    The AEG Defendants’ insistence on the Staples Center Commitment
                   4 left Ozzy with a choice that, realistically, was no choice at all. For a major artist
                   5 such as Ozzy, there is simply no substitute for the O2 arena when booking the
                   6 London leg of an international tour. Recent data shows that the O2 has the highest
                   7 volume of ticket sales (as much as 50 percent higher) out of all arena-sized venues
                   8 in the world, making it the single most desirable venue for an artist hoping to
                   9 maximize attendance at his or her performance. The O2 thus holds a unique place
              10 in the global concert and live entertainment industry; certainly, there is no
              11 comparable venue anywhere near it in the area of greater London—particularly
              12 during winter months, when outdoor stadiums and festivals are not a realistic
              13 alternative. The nearest large indoor venue (e.g., indoor venue with over 14,000
              14 capacity) in England is in Birmingham, over 160 miles away, and it is not reasonably
              15 interchangeable with the O2.
              16            42.    In economic terms, the O2 arena is a must-have destination for the
              17 relevant type of artist because there are no reasonable substitutes for it. More
              18 formally, the O2 is a product (a large, indoor concert venue) sold in a geographic
              19 market of greater London. Greater London is a relevant geographic market because
              20 in the event of a small but significant non-transitory increase in price charged by O2
              21 to artists or their representatives, or the imposition of similarly substantial non-price
              22 adverse terms, artists seeking to play the O2 could not and would not switch away
              23 to play an arena in Birmingham, Manchester, or Dublin, or Paris, or anywhere else.
              24 Greater London is also a sufficient description of the geographic market because no
              25 more specific description is required to separate venues that might compete with the
              26 O2 from those that cannot.
              27            43.    The O2 is dominant in greater London because of the size of the O2, its
              28 location, its ability to host major events, the fact that it is indoors not outdoors, and,
                                                                     FIRST AMENDED CLASS ACTION COMPLAINT
ATTORNEYS AT LAW
 SAN FRANCISCO                                                  12                   FOR INJUNCTIVE RELIEF
                                                                                  AND DECLARATORY RELIEF
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                   1 in general, the absence of comparable alternatives that constrain the O2 in the
                   2 market. In the event of a small but significant non-transitory increase in price
                   3 charged by O2 to artists or their representatives, or the imposition of similarly
                   4 substantial non-price adverse terms, artists seeking to play the O2 could not switch
                   5 away to play another arena in greater London itself. Indeed, even if there were
                   6 realistic alternatives to the O2 in greater London, AEG’s dominance and control over
                   7 the other large performance venues in the area is formidable. For example, AEG not
                   8 only owns and controls the O2 arena, but also manages The SSE Arena, Wembley.
                   9 AEG also has the exclusive rights to hold concerts in Hyde Park and Victoria Park
              10 in London. Overall, AEG has dominant market power in and around greater London.
              11            44.    Because it is impossible to book a major international tour in greater
              12 London without dealing with AEG, and/or because AEG has substantial market
              13 power, AEG is able to coerce artists into signing the Staples Center Commitment.
              14            45.    In practical terms, international tours that are significant enough to play
              15 the O2 are likely to have a Los Angeles leg as well. The Los Angeles market is—
              16 or but for the Staples Center Commitment would be—more competitive than the
              17 London market.          Artists of Ozzy’s stature and popularity seeking to play Los
              18 Angeles have a choice, even for tours (and in months of the year) where an indoor
              19 venue is effectively required: they can play Staples, or they can play the Forum. The
              20 two are reasonably interchangeable substitutes. The Staples Center Commitment
              21 alters that substitutability, however, in that playing the Forum compromises the
              22 artist’s ability to play the O2.
              23            46.    Plaintiff is informed and believes that more than a dozen artists, facing
              24 the same or similar pressure from AEG, have signed the Staples Center
              25 Commitment. As a result, those artists have lost the benefits of the competitive
              26 market that exists (for now) in Los Angeles: they can no longer bargain for better
              27 terms at the Forum, or for better terms at Staples as a result of unrestrained
              28 negotiations with the Forum. The restriction on the ability of these artists (and other
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                   1 absent class members) to choose their venue has thus affected a substantial volume
                   2 of commerce in Los Angeles—entirely as a consequence of AEG’s strong-arming
                   3 and leveraging tactics.
                   4         47.   Facing these pressures, Ozzy directed Live Nation UK to sign and
                   5 return the Staples Center Commitment, which was done on March 19, 2018. But
                   6 because AEG’s conditions restrict his freedom (and the freedom of many other
                   7 artists) to play at a venue of their choice, and because those conditions serve only to
                   8 enrich AEG while restraining competition, Ozzy brings this Complaint to enjoin,
                   9 nullify, and defeat the Staples Center Commitment on his own behalf and for all
              10 other similarly situated persons. Practically speaking, this suit is intended to restore
              11 competition via a prohibitory injunction precluding the AEG Defendants from
              12 enforcing the flagrantly unlawful contractual term they regularly impose on artists,
              13 forcing them to take dates at Staples that they either do not want, or would agree to
              14 only after fully enjoying the fruits of unrestrained competition among venues.
              15             48.    To be clear, what Ozzy wanted, and what similarly situated artists
              16 want, are the benefits of competition among Los Angeles venues. When that
              17 competition is foreclosed, artists (and their representatives) lose the ability to play
              18 venues off each other to negotiate more favorable deal terms. This is not just basic
              19 economics—it is reality. When AEG forced Ozzy (through his representative) to
              20 sign the Staples Commitment, using the force of AEG’s market power in greater
              21 London, AEG deprived Ozzy of the ability to extract favorable deal terms from the
              22 Forum by threatening to play Staples instead, and the ability to extract favorable deal
              23 terms from Staples by threatening to play the Forum instead. He did not cede this
              24 leverage voluntarily; he was coerced. The absent class members suffer the identical
              25 harm as Ozzy in this regard, which is not mitigated in the least by whether (a) all
              26 else equal, an artist would have preferred to play one venue over another, or (b)
              27 Staples offers better economic terms than the Forum. The competitive interest lies
              28 in protecting the effectiveness of these negotiations, which are positively ubiquitous
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                   1 in the industry and allow artists to use the competitive process to extract concessions
                   2 from dueling purveyors of a good or service they seek to obtain.
                   3         49.    The harm from the AEG Defendants’ illegal tying practice is not
                   4 compensable with money damages. For one thing, it is impossible to catalogue, let
                   5 alone value, the myriad benefits that artists and consumers would enjoy by virtue of
                   6 competition between Staples and the Forum, which the Staples Center Commitment
                   7 thwarts. For another, depriving artists of the choice of which venue to play in the
                   8 greater Los Angeles area is an irremediable harm in its own right: delivering the
                   9 concert experience that, in the artist’s own calculation, best reflects his or her vision
              10 for fans—in the environment of the artist’s own choosing—is an essential and
              11 integral component of the connection between a musician and his or her most ardent
              12 supporters.        This is about artistic identity, freedom, and choice, in addition to
              13 monetary harm.
              14             50.    On information and belief, the AEG Defendants’ unlawful and coercive
              15 conduct with respect to the Staples Center Commitment was aided, abetted,
              16 facilitated, and/or implemented by Defendants John Doe 1 through 10.
              17                                    CLAIMS FOR RELIEF
              18                                      First Claim for Relief
              19                   Violation of Section 1 of the Sherman Act (15 U.S.C. § 1)
              20                                      Against All Defendants
              21             51.    Plaintiff repeats and re-alleges the foregoing paragraphs 1 through 50
              22 above as though fully set forth herein.
              23             52.    The AEG Defendants’ imposition of the Staples Center Commitment is
              24 a per se violation of tying doctrine under Section 1 of the Sherman Act (15 U.S.C.
              25 § 1).        The Staples Center Commitment ties together two distinct products or
              26 services—arena-sized indoor venues for musical concerts in (a) London or greater
              27 London, and (b) Los Angeles or greater Los Angeles (perhaps defined by AEG’s
              28 own criteria of venues within, or within 25 miles of, Los Angeles County)—and the
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                   1 AEG Defendants have substantial economic power in the tying product market,
                   2 which allows them to coerce artists into agreeing to the Staples Center Commitment.
                   3 By imposing the Staples Center Commitment on artists, the AEG Defendants have
                   4 impacted a substantial volume of commerce in the tied product market.
                   5        53.    Because of the AEG Defendants’ overwhelming market power in the
                   6 tying product market—the market for the rental of indoor arena-sized venues for
                   7 musical concerts or other live performances in London or greater London—and the
                   8 explicit nature of the tying arrangement, the Staples Center Commitment is per se
                   9 unlawful (as that term is used in connection with tying). It is therefore unnecessary
              10 for Plaintiffs to plead (or prove) injury to competition in the tied product market for
              11 the rental of indoor arena-sized venues for musical concerts in or around greater
              12 Los Angeles.
              13            54.     Alternatively, the AEG Defendants’ imposition of the Staples Center
              14 Commitment is also a violation of tying doctrine under the “rule of reason.” The
              15 purpose and intent of the Staples Center Commitment is for AEG to leverage its
              16 dominance of the market for indoor arena-sized venues in greater London to restrain,
              17 exclude, and weaken competition of the market for indoor arena-sized venues in
              18 greater Los Angeles to the detriment of the artists, concert-goers, and competing
              19 venues. It has that effect.
              20            55.     To be clear, the tied product market is for indoor arena-sized concert
              21 venues in Los Angeles, perhaps defined by AEG’s own criteria of venues within, or
              22 within 25 miles of, Los Angeles County. Venues farther outside Los Angeles
              23 generally are not reasonable substitutes for venues within this area. Ozzy, for
              24 example, would not eschew both the Forum and Staples in favor of a venue in
              25 Anaheim, in the event that both the Forum and Staples implemented small but
              26 significant non-transitory increases in price, or imposed other similarly substantial
              27 non-price adverse terms. Likewise, smaller Los Angeles venues, such as the Greek
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                   1 Theater or the Hollywood Bowl, do not constrain the prices and terms offered by
                   2 large indoor arenas such as Staples and the Forum.
                   3        56.    Furthermore, however one defines the precise contours of the tied
                   4 product market, it is undeniable that the Forum is the closest and most intense
                   5 competitor to Staples. The two venues are less than ten miles apart, each has the
                   6 capacity and other amenities to host major music concerts, and, since the Forum was
                   7 refurbished, the two venues have competed intensely and head-to-head for dozens
                   8 of major artists. When AEG began losing concerts to the Forum, it first competed
                   9 for artists’ patronage with better rental terms and other financial inducements. The
              10 Staples Center Commitment was adopted because competition on the merits was not
              11 working to AEG’s satisfaction. It was losing too much.
              12            57.     There is no justification for this conduct, let alone one that can meet
              13 the exacting standards of tying law. The Staples Center Commitment does not
              14 promote goodwill or quality control within the tying market, and it does not promote
              15 cost savings (quite the opposite) or other potentially valuable effects, such as
              16 metering or risk allocation. Nor can the Staples Center Commitment be justified on
              17 some “two wrongs make a right” theory related to what some other venue owner
              18 (MSG) allegedly has done to offer artists inducements to play the Forum (i.e.,
              19 Mr. Marciano’s “The other guys started this first!” argument). Anticompetitive
              20 conduct cannot be justified on the basis that “the other guys” are also alleged to have
              21 engaged in anticompetitive conduct.          The Staples Center Commitment is rank
              22 anticompetitive conduct; its purpose and effect is to injure competition in the tied
              23 product market.
              24            58.     The AEG Defendants’ wrongful conduct has caused—and threatens
              25 to continue to cause—injury to Plaintiffs. The Staples Center Commitment prevents
              26 promoters or other artist representatives from negotiating better terms at the
              27 available venues in greater Los Angeles and locks artists into performing at one
              28 venue when they would prefer to perform at another, in addition to the myriad other
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                   1 harms described herein.      This restraint on promoters and representatives from
                   2 negotiating better terms harms artists directly because (among other reasons) it is
                   3 typical in the industry for the artists to recover a fixed percentage of whatever deal
                   4 their promoters or representatives are able to strike.
                   5         59.    The AEG Defendants’ wrongful conduct has caused—and threatens
                   6 to continue to cause—injury to competition. Indeed, the sole purpose of the Staples
                   7 Center Commitment is to coerce artists into playing Staples instead of the Forum.
                   8 Further, the Staples Center Commitment creates a barrier to entry for any other
                   9 venues (or potential, developing venues) that may wish to compete for large concerts
              10 or other performances in Los Angeles.
              11             60.    An injunction is necessary to prevent any of the AEG Defendants’
              12 conduct from causing further harm. AEG continues to impose the Staples Center
              13 Commitment. The Staples Center Commitment causes irreparable injury to the
              14 artists affected by it, who are put to the impossible choice of foregoing the must-have
              15 venue in the London area, or losing the benefits of competition in the Los Angeles
              16 area. Monetary damages are inadequate to compensate Plaintiffs for this loss—in
              17 choice, and in the benefits of competition itself. The balance of hardships favors the
              18 exercise of this Court’s equitable powers in Plaintiffs’ favor, and the public interest
              19 would be served by an injunction, because Defendants’ conduct is unlawful,
              20 anticompetitive, and without justification.
              21                                    Second Claim for Relief
              22                             Declaratory Relief (28 U.S.C. § 2201)
              23                                     Against All Defendants
              24             61.    Plaintiff repeats and re-alleges the foregoing paragraphs 1 through 60
              25 above as though fully set forth herein.
              26             62.    An actual controversy exists between Plaintiffs and Defendants
              27 regarding their respective rights and duties in connection with, and the enforceability
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                                                                      FIRST AMENDED CLASS ACTION COMPLAINT
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 SAN FRANCISCO                                                  18                    FOR INJUNCTIVE RELIEF
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                   1 of, the Staples Center Commitment. Plaintiffs contend that the Staples Center
                   2 Commitment is unlawful and unenforceable; Defendants oppose these contentions.
                   3        63.     A judicial declaration is necessary and proper at this time under the
                   4 circumstances so that Plaintiffs may ascertain their rights and duties in connection
                   5 with the Staples Center Commitment. In the absence of a judicial declaration,
                   6 Plaintiffs may have no choice but to comply with an unlawful, unreasonable, and
                   7 unenforceable restraint.
                   8                                 PRAYER FOR RELIEF
                   9        WHEREFOR, Plaintiffs pray for judgment against all Defendants as follows:
              10            1.     For an injunction enjoining and restraining the AEG Defendants, and
              11                   those acting in concert with them or at their direction, from imposing
              12                   or enforcing the Staples Center Commitment (or any other policy that
              13                   conditions the use of the O2 on an agreement to also use Staples) on
              14                   any artist, musician, performer, and/or their representatives, directly or
              15                   indirectly.
              16            2.     For a judicial determination by this Court that the Staples Center
              17                   Commitment is contrary to the antitrust laws of the United States, and
              18                   that the portion of the agreement between Plaintiffs and the AEG
              19                   Defendants that conditions the use of the O2 on the use of Staples is,
              20                   accordingly, unenforceable;
              21            3.     For reasonable attorney’s fees (see 15 U.S.C. § 15(a)) and costs of suit
              22                   incurred herein;
              23            4.     For any and all other relief as this Court may deem proper and just.
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                   1 Dated: May 1, 2018
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                   6                                        Daniel M. Wall
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                   7                                        Ozzy Osbourne
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